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  11   BMW OF NORTH AMERICA, LLC
  12
                                  UNITED STATES DISTRICT COURT
  13

  14                             CENTRAL DISTRICT OF CALIFORNIA

  15   NAOR GIGI, an individual,         )       Case No. 2:18-cv-00426
  16                                     )
                Plaintiff,               )
  17
                                         )
  18      v.                             )       NOTICE OF REMOVAL OF
  19                                     )       ACTION UNDER 28 U.S.C. § 1441
     BMW OF NORTH AMERICA, LLC, a)               (DIVERSITY); DECLARATION OF
  20 Delaware Limited Liability Company; )       ERIN TALLENT
  21 and DOES 1 through 20, inclusive,   )
                                         )
  22
                Defendants.              )       DISCOVERY CUT-OFF:             NONE
  23                                     )       MOTION CUT-OFF:                NONE
  24 - - - - - - - - - - - - -)                  TRIALDATE:                     NONE

  25
                TO THE CLERK OF THE UNITED STATES DISTRICT COURT

  26
       FOR THE CENTRAL DISTRICT OF CALIFORNIA:

  27
                PLEASE TAKE NOTICE that defendant BMW of North America, LLC

  28
       (BMW NA or defendant), hereby removes to this Court the State Court action

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   1   described below pursuant to 28 U.S.C. section 1441, based upon diversity
   2   jurisdiction as defined by 28 U.S.C section 1332.
   3            1.       On December 14, 2017, an action was commenced in the Superior
   4   Court of the State of California, County of Los Angeles, Case Number BC686864,
   5   entitled Naor Gigi v. BMW of North America, LLC, and Does 1 through 20,
   6   inclusive.
   7            2.       BMW NA is the only named defendant in this action.
   8            3.       BMW NA was served with the Summons and Complaint on
   9   December 18, 2017 through its designated agent for service of process, CT
  1o   Corporation System. (Declaration of Erin Tallent (Tallent Deel.) ~ 2, Exhibit A). It
  11   was on that date that BMW NA received, through service or otherwise, a copy of a
  12   pleading, Motion, Order or other paper from which fit could first be ascertained
  13   that the case is one which is removable.
  14            4.       On January 16, 2018, BMW NA filed its Answer to the Complaint in
  15   State Court. (Tallent Deel. ~3, Exhibit B). Aside from the filing of the Summons
  16   and Complaint and Answer, no further proceedings have been had in the state
  17   Court action.
  18            5.       The above-described action is a civil action of which this Court has
  19   original jurisdiction under the provisions of Title 28, Section 1332 of the United
  20   States Code, and is one that may be removed to this Court by defendant, pursuant
  21   to Title 28, Section 1441, subdivision (b) of the United States Code, in that it is a
  22   civil action wherein the matter in controversy exceeds the sum or value of
  23   $75,000, exclusive of interest and costs, and is between citizens of different states,
  24   according to the following facts:
  25            6.       The Superior Court of the State of California for the County of Los
  26   Angeles is located in the Central District of California, Western Division.
  27   Therefore, venue is proper pursuant to 28 U.S.C. section 84 because this is the
  28   ///

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   1   "district and division within which such action is pending ... " (See 28 U.S.C.
   2   § 1446, subd. (a).)
   3            7.       No previous application has been made for the relief requested herein.
   4            8.       Pursuant to 28 U.S.C. section 1446, subdivision (d), a copy of this
   5   Notice of removal is being served upon counsel for plaintiff, and a copy is being
   6   filed with the clerk of the Superior Court of the State of California for the County
   7   of Los Angeles.
   8                                                 I.
   9          REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT
  10        MATTER JURISTICTION PURSUANT TO 28 U.S.C. §§1332 AND 1441
  11   A.      Diversity of Citizenship Exists
  12           9.       The basic requirement in diversity cases is that all plaintiffs be of
  13   different citizenship than all defendants. Any instance of common citizenship
  14   prevents federal diversity jurisdiction. For diversity purposes, a natural person is a
  15   "citizen" of the state which he or she is domiciled. (Kantor v. Wellesley Galleries,
  16   Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).) A natural person's domicile is the
  17   place he or she resides with the intention to remain or to which he or she intends to
  18   return. (Kanter v. Warner-Lambert Co., 265 F.3d. 853, 857 (9th Cir. 2001).) A
  19   corporation, on the other hand, is deemed to be a citizen of any State by which it
  20   has been incorporated and of the State where it has its principal place of business.
  21   (28 U.S.C. §1332, subd. (c)(l).)
  22            10.     For removal purposes, diversity must exist both at the time the action
  23   was commenced in state court and at the time of removal. (Strotek Corporation v.
  24   Air Transport Association of America, 300 F.3d 1129, 1131 (9th Cir. 2002).) A
  25   case is removable on diversity grounds if diversity of citizenship can be
  26   ascertained from the face of plaintiffs Complaint or this fact is disclosed in
  27   pleadings, motions or papers "from which it may first be ascertained that the case
  28   is one which is or has become removable ... " (28 U.S.C. § 1446, subd. (b)(3).)

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   1            11.      Plaintiff Naor Gigi, at the time this action was commenced, was and
   2   still is a citizen of the State of California. This is established by the Complaint
   3   (See Tallent Deel., ,r2,4 Exhibit A, Complaint, at ,rI.)
   4            12.      Defendant BMW NA, at the time this action was commenced, was
   5   and still is a limited liability company organized under the laws of the State of
   6   Delaware, with its principal place of business in the State of New Jersey, and was
   7   not and is not organized under the laws of the State of California, wherein this
   8   action was brought. (Tallent Deel., ,rs.) The sole member of BMW NA is BMW
   9   (US) Holding Corp., which was and still is organized under the laws of the State
  10   of Delaware, with its principal place of business in the State of New Jersey, and
  11   was not and is not organized under the laws of the State of California, wherein this
  12   action was brought. (Tallent Deel., ,rs.)
  13            13.      Complete diversity exists as of the time the action was commenced in
  14   state court and at the time of removal, and there are no other named defendants
  15   that can defeat diversity. "Doe" defendants may be ignored for removal purposes.
  16   (See Salveson v. Western State Bank Card Assn., 731 F.2d 1423 (9th Cir. 1984).)
  17   B.       The Amount in Controversy Requ irement Is Satisfied
  18            14.      The amount-in-controversy exceeds $75,000.00 for the following
  19   reasons:
  20                     (i)     The action arises out of plaintiffs lease of a 2015 BMW XS,
  21                             VIN 5UXKR6C55FOJ76624 (See Tallent Deel., ,r2; Exh. A,
  22                             Plaintiffs Complaint at ,rs-6);
  23                     (ii)    Plaintiff leased the subject vehicle for a total consideration
  24                             over the term of the leasing contract of approximately
  25                             $57,700.00 (See Tallent Deel., ,r2; Exh. A, Plaintiffs Complaint
  26                             at ,r6). Plaintiff alleges damages in the amount actually paid or
  27                             payable under the contract, plus prejudgment interest, as well
  28                             as incidental and consequential damages. (See Tallent Deel.,

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   1                            ~2; Exh. A, Plaintiffs Complaint at ~22-23). Plaintiff is also
   2                            seeking a civil penalty, as provided in the Song-Beverly
   3                            Warranty Consumer Act, in an amount not to exceed two times
   4                            the amount of Plaintiffs actual damages and for actual
   5                            attorneys fees reasonably incurred. (See Tallent Deel., ~2; Exh.
   6                            A, Plaintiffs Complaint at Prayer for Relief, Page 9, section D
   7                            and E). The Song-Beverly Act allows recovery of a civil
   8                            penalty of up to two times the amount of actual damages.
   9                            California Civil Code section 1794, subdivision (e).
  10            14.     Under the Song-Beverly Act restitution includes the "actual price
  11   paid or payable by the buyer."           Cal. Civil Code § 1793 .2(d)(2)(B) (Emphasis
  12   supplied.) Finance charges are also recoverable by the buyer in a Song-Beverly
  13   case. Mitchell v. Blue Bird Body Co., 80 Cal.App.4th 85 (2000).
  14            15.     Civil penalties under the Song-Beverly Act are properly included in
  15   the amount in controversy. Brady v. Mercedes Benz, 243 F. Supp. 2d 1004, 1009
  16   (N.D. Cal. 2002). See also Chabner v. United of Omaha Life Ins. Co. , 225 F.3d
  17   1042, 1046, n.3 (9th Cir. 2000) (civil penalties under Cal. Civ. Code§ 52(a) and
  18   punitive damages are included in the amount in controversy).                    "[W]hen a
  19   defendant seeks federal-court adjudication, the defendant's amount-in-controversy
  20   allegation should be accepted when not contested by the plaintiff or questioned by
  21   the court." Dart Cherokee Basin Operating Co. v. Owens (2014) 135 S.Ct. 547,
  22   553.
  23           16.       Plaintiffs Complaint, seeks in excess of $75,000 in monetary
  24   damages. (See Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999)
  25   ( amount      in controversy requirement may be established by showing that such
  26   damages are "facially apparent" from the plaintiffs Complaint, or by setting forth
  27   facts in the notice of removal that support a finding of the requisite amount).
  28   Specifically, Plaintiff alleges to be seeking the amount paid or payable under the

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   1   contract, and alleges that amount is $57,700.00. While the consequential and
   2   incidental damages claimed are not identified, using the contract of amount of
   3   $57,700.00, Plaintiff is seeking a civil penalty ofup to $115,400.00 ($57,700.00 x
   4   2). As such, the amount in controversy is met.
   5            17.      This removal notice is timely filed as it is filed within 30 days after
   6   BMW NA's service of the Complaint, from which it could first be ascertained that
   7   the case is one which is removable, in accordance with Rule 6 of the Federal Rules
   8   of Civil Procedure. Therefore, removal of this case is proper.
   9            18.      Based upon the foregoing, all requirements for diversity jurisdiction
  1O   and removal jurisdiction have been met. Defendant BMW NA therefore requests
  11   that this action now pending against it in the Superior Court of California, County
  12   of Los Angeles, be removed to this Court, and that this Court assume complete
  13   jurisdiction in this matter.
  14            19.      Defendant BMW NA will promptly notify plaintiff and the Superior
  15   Court of this removal as required by 28 U.S.C. section 1446, subdivision (d).
  16            WHEREFORE, BMW NA prays that the above action now pending
  17   against it in the Superior Court of California, County of Los Angeles, be removed
  18   therefrom to this Court.
  19   DATED: January 17, 2018                    LEHRMAN LAW GROUP
                                                  KATES. LEHRMAN
  20                                              JACQUELINE BRUCE CHINERY
                                                  ERIN TALLENT
  21
  22                                         By: Isl Erin Tallent
  23
                                                 Erin Tallent
                                                 Attorneys for Defendant
  24
                                                 BMW OF NORTH AMERICA, LLC

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